Case 3:23-cv-00243-AMO Document 32-8 Filed 03/03/23 Page 1 of 16




            EXHIBIT G
                      Case Case
                           3:23-cv-00243-AMO
                                 20-12836-JTD Document
                                              Doc 1-2 Filed
                                                       32-8 11/07/20
                                                             Filed 03/03/23
                                                                       Page Page
                                                                            1 of 152 of 16


Fill in this information to identify the case:

United States Bankruptcy Court for the:
                               District of Delaware
                                          (State)                                                                                     ☐ Check if this is an
Case number (if known):                                       Chapter        11                                                           amended filing



Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                            04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor’s Name                     Cred Inc.


                                       Cred LLC, Libra Credit (US) LLC
2. All other names debtor used
   in the last 8 years

     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer
   Identification Number (EIN)         _85-2308268_______________


4. Debtor’s address                    Principal place of business                                    Mailing address, if different from principal place
                                                                                                      of business
                                       3 East Third Avenue
                                       Number               Street                                    Number         Street

                                       Suite 200

                                       San Mateo, California 94401
                                       City                     State     Zip Code                    City                         State     Zip Code

                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business
                                       San Mateo
                                       County




5. Debtor’s website (URL)              https://mycred.io

6.   Type of debtor                    ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                       ☐ Partnership (excluding LLP)

                                       ☐ Other. Specify:




      Official Form 201                             Voluntary Petition for Non-Individuals Filing for Bankruptcy                                        page 1
                      Case Case
                           3:23-cv-00243-AMO
                                 20-12836-JTD Document
                                              Doc 1-2 Filed
                                                       32-8 11/07/20
                                                             Filed 03/03/23
                                                                       Page Page
                                                                            2 of 153 of 16
Debtor             Cred Inc.                                                            Case number (if known)
            Name



                                         A. Check One:
7.    Describe debtor’s business
                                         ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                         ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                         ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                         ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                         ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                         ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                         ☒ None of the above

                                         B. Check all that apply:
                                         ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                         ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                         ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                               522298

8. Under which chapter of the            Check One:
   Bankruptcy Code is the
   debtor filing?                        ☐ Chapter 7

                                         ☐ Chapter 9

                                         ☒ Chapter 11. Check all that apply:

                                                          ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     A debtor who is a “small business                      noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     debtor” must check the first sub-box. A                $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     debtor as defined in § 1182(1) who                     operations, cash-flow statement, and federal income tax return or if any of these documents
     elects to proceed under subchapter V                   do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B)..
     of chapter 11 (whether or not the                    ☐ The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent
     debtor is a “small business debtor”)
                                                            liquidated debts (excluding debts owed to insiders or affiliates) are less than $7,500,000,
     must check the second sub-box.
                                                            and it chooses to proceed under Subchapter V of Chapter 11. If this sub-box is selected,
                                                            attach the most recent balance sheet, statement of operations, cash-flow statement, and
                                                            federal income tax return, or if any of these documents do not exist, follow the procedure in
                                                            11 U.S.C. § 1116(1)(B).
                                                          ☐ A plan is being filed with this petition.

                                                          ☐ Acceptances of the plan were solicited prepetition from one or more classes of
                                                            creditors, in accordance with 11 U.S.C. § 1126(b).
                                                          ☐ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                            Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                            Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                            for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                          ☐ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                            12b-2.
                                         ☐ Chapter 12

9. Were prior bankruptcy cases           ☒ No
   filed by or against the debtor        ☐ Yes.         District                        When                      Case number
   within the last 8 years?                                                                       MM/DD/YYYY
     If more than 2 cases, attach a                     District                        When                      Case number
     separate list.                                                                               MM/DD/YYYY

10. Are any bankruptcy cases             ☐ No
    pending or being filed by a          ☒ Yes.                                                                   Relationship    Affiliate
                                                        Debtor     See Schedule 1
    business partner or an
                                                      District    Delaware                                        When            11/7/2020
       Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 2
                     Case Case
                          3:23-cv-00243-AMO
                                20-12836-JTD Document
                                             Doc 1-2 Filed
                                                      32-8 11/07/20
                                                            Filed 03/03/23
                                                                      Page Page
                                                                           3 of 154 of 16
Debtor           Cred Inc.                                                             Case number (if known)
          Name


    affiliate of the debtor?                                                                                                       MM / DD / YYYY
    List all cases. If more than 1,                   Case number, if known _______________________
    attach a separate list.

11. Why is the case filed in this      Check all that apply:
    district?
                                       ☒    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                            immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                            district.
                                       ☒    A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have        ☒ No
    possession of any real             ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal
    property that needs                          Why does the property need immediate attention? (Check all that apply.)
    immediate attention?
                                                 ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                       safety.
                                                       What is the hazard?

                                                 ☐     It needs to be physically secured or protected from the weather.

                                                 ☐      It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                        attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                        assets or other options).
                                                 ☐     Other

                                                 Where is the property?
                                                                                Number           Street



                                                                                City                                       State        Zip Code

                                                 Is the property insured?
                                                 ☐ No

                                                 ☐ Yes.      Insurance agency

                                                             Contact name
                                                             Phone




                 Statistical and administrative information

13. Debtor's estimation of            Check one:
    available funds
                                      ☒ Funds will be available for distribution to unsecured creditors.
                                      ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

14. Estimated number of               ☐     1-49                       ☐     1,000-5,000                        ☐     25,001-50,000
    creditors1                        ☐     50-99                      ☒     5,001-10,000                       ☐     50,001-100,000
                                      ☐     100-199                    ☐     10,001-25,000                      ☐     More than 100,000
                                      ☐     200-999

15. Estimated assets2                 ☐     $0-$50,000                 ☐     $1,000,001-$10 million              ☐    $500,000,001-$1 billion
                                      ☐     $50,001-$100,000           ☐     $10,000,001-$50 million             ☐    $1,000,000,001-$10 billion
                                      ☐     $100,001-$500,000          ☒     $50,000,001-$100 million            ☐    $10,000,000,001-$50 billion
                                      ☐     $500,001-$1 million        ☐     $100,000,001-$500 million           ☐    More than $50 billion




1
     Estimated number of creditors, assets and liabilities noted here are provided on a consolidated basis.
2
     Estimated value of assets as of Oct. 30, 2020.
     Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 3
                    Case Case
                         3:23-cv-00243-AMO
                               20-12836-JTD Document
                                            Doc 1-2 Filed
                                                     32-8 11/07/20
                                                           Filed 03/03/23
                                                                     Page Page
                                                                          4 of 155 of 16
Debtor           Cred Inc.                                                          Case number (if known)
          Name



16. Estimated liabilities           ☐     $0-$50,000                   ☐     $1,000,001-$10 million             ☐ $500,000,001-$1 billion
                                    ☐     $50,001-$100,000             ☐     $10,000,001-$50 million            ☐ $1,000,000,001-$10 billion
                                    ☐     $100,001-$500,000            ☐     $50,000,001-$100 million           ☐ $10,000,000,001-$50 billion
                                    ☐     $500,001-$1 million          ☒     $100,000,001-$500 million          ☐ More than $50 billion

                 Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of      The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of      petition.
    debtor
                                      I have been authorized to file this petition on behalf of the debtor.
                                      I have examined the information in this petition and have a reasonable belief that the information is true and
                                      correct.

                                I declare under penalty of perjury that the foregoing is true and correct.

                                      Executed on           11/7/2020
                                                           MM/ DD / YYYY


                                              /s/ Daniel Schatt                                        Daniel Schatt
                                              Signature of authorized representative of debtor         Printed name

                                      Title          Chief Executive Officer




18. Signature of attorney                     /s/ Scott D. Cousins                                      Date      11/7/2020
                                              Signature of attorney for debtor                                    MM/DD/YYYY



                                              Scott D. Cousins
                                              Printed name
                                              Cousins Law LLC
                                              Firm name
                                              Brandywine Plazza West, 1521 Concord Pike, Suite 301
                                              Number           Street
                                              Wilmington                                                        DE             19803
                                              City                                                              State        ZIP Code
                                              (304) 824-7081                                                    Scott.cousins@cousins-law.com
                                              Contact phone                                                     Email address
                                              3079                                                  DE
                                              Bar number                                             State




     Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 4
          Case Case
               3:23-cv-00243-AMO
                     20-12836-JTD Document
                                  Doc 1-2 Filed
                                           32-8 11/07/20
                                                 Filed 03/03/23
                                                           Page Page
                                                                5 of 156 of 16




Fill in this information to identify the case:
                                                                    ,
United States Bankruptcy Court for the:
                          District of Delaware
                                    (State)
Case number (if
known):                                          Chapter   11



                                                       Schedule 1
              Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor
        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a
petition in the United States Bankruptcy Court for the District of Delaware for relief under
chapter 11 of title 11 of the United States Code. The Debtors have moved for joint
administration of these cases under the case number assigned to the chapter 11 case of Cred Inc.

         Cred Inc.
         Cred (US) LLC
         Cred Merchant Solutions LLC
         Cred Capital, Inc.
         Cred (Puerto Rico) LLC

          .
         Case Case
              3:23-cv-00243-AMO
                    20-12836-JTD Document
                                 Doc 1-2 Filed
                                          32-8 11/07/20
                                                Filed 03/03/23
                                                          Page Page
                                                               6 of 157 of 16




                           IN UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

---------------------------------------------------------------x
                                                               :
In re:                                                         :   Chapter 11
                                                               :
CRED INC.,                                                     :   Case No. 20-[_____] ([___])
                                                               :
                           Debtor.                             :
                                                               :
---------------------------------------------------------------x

                             CORPORATE OWNERSHIP STATEMENT

        Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,
the following are corporations, other than a government unit, that directly or indirectly own 10%
or more of any class of the debtor’s equity interest:

        None.
         Case Case
              3:23-cv-00243-AMO
                    20-12836-JTD Document
                                 Doc 1-2 Filed
                                          32-8 11/07/20
                                                Filed 03/03/23
                                                          Page Page
                                                               7 of 158 of 16




                              IN UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE

---------------------------------------------------------------x
                                                               :
In re:                                                         :          Chapter 11
                                                               :
CRED INC.,                                                     :          Case No. 20-[_____] ([___])
                                                               :
                           Debtor.                             :
                                                               :
---------------------------------------------------------------x

                                LIST OF EQUITY SECURITY HOLDERS3

       Debtor                    Equity Holders                     Address of Equity Holder                      Percentage
                                                                                                                   of Equity
                                                                                                                      Held
                                                                       3 East Third Avenue
      Cred Inc.                    Daniel Schatt                                                                         50%
                                                                      San Mateo, CA 94401
                                                                Unit 13, No. 1895 Gonghexin Rd.,
      Cred Inc.                        Lu Hua                                                                            50%
                                                                         Shanghai 200072




3
    This list serves as the disclosure required to be made by the debtor pursuant to Rule 1007 of the Federal Rules of
    Bankruptcy Procedure. All equity positions listed are as of the date of commencement of the chapter 11 case.
                            Case Case  20-12836-JTD Document
                                 3:23-cv-00243-AMO  Doc 1-2 Filed
                                                             32-8 11/07/20   Page Page
                                                                   Filed 03/03/23 8 of 159 of 16


Fill in this information to identify the case:

Debtor name: Cred Inc., et al.
United States Bankruptcy Court for the: District of Delaware
Case number (if known): 20-_____

                                                                                                                                                              ¨ Check if this is an
                                                                                                                                                                    amended filing

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest
Unsecured Claims and Are Not Insiders1                                                                                                                                       12/15

A list of creditors holding the 30 Largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30
Largest unsecured claims.

     Name of creditor and                     Name, telephone number, and       Nature of the                       Indicate if Amount of unsecured claim
     complete mailing address,                email address of creditor contact claim                               claim is    If the claim is fully unsecured, fill in only unsecured
     including zip code                                                         (for example,                       contingent, claim amount. If claim is partially secured, fill in
                                                                                trade debts,                        unliqui-    total claim amount and deduction for value of
                                                                                bank loans,                         dated, or collateral or setoff to calculate unsecured claim.
                                                                                professional                        disputed
                                                                                services, and                                   Total claim,       Deduction for Unsecured
                                                                                government                                      if partially       value of            claim
                                                                                contracts)                                      secured            collateral or
                                                                                                                                                   setoff

1    Name and Address on File                 Contact Information On File                   Customer Claim             ¨C                                             $14,065,941.241

                                                                                                                       þU
                                                                                                                       ¨D
2    Name and Address on File                 Contact Information On File                   Customer Claim             ¨C                                             $13,525,842.951

                                                                                                                       þU
                                                                                                                       ¨D
3    Name and Address on File                 Contact Information On File                   Customer Claim             ¨C                                             $4,942,850.361

                                                                                                                       þU
                                                                                                                       ¨D
4    Name and Address on File                 Contact Information On File                   Customer Claim             ¨C                                             $3,829,221.401

                                                                                                                       þU
                                                                                                                       ¨D
5    Name and Address on File                 Contact Information On File                   Customer Claim             ¨C                                             $2,618,880.601

                                                                                                                       þU
                                                                                                                       ¨D
6    Name and Address on File                 Contact Information On File                   Customer Claim             ¨C                                             $2,549,184.331

                                                                                                                       þU
                                                                                                                       ¨D
7    Name and Address on File                 Contact Information On File                   Customer Claim             ¨C                                             $2,169,064.801

                                                                                                                       þU
                                                                                                                       ¨D
    1On a consolidated basis, excluding tax claims.     The information herein shall not constitute an admission of liability by, nor is it binding on, any
    Debtors with respect to all or any portion of the claims listed herein. Moreover, nothing herein shall affect any Debtor’s right to challenge the
    amount, priority, validity or characterization of any claim at a later date.

Official Form 204                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                  Page 1
                    Case 3:23-cv-00243-AMO
                         Case 20-12836-JTD Document
                                            Doc 1-2 32-8
                                                    Filed 11/07/20
                                                          Filed 03/03/23
                                                                     PagePage
                                                                         9 of 15
                                                                               10 of 16

Debtor   Cred Inc., et al.                                                                                  Case number (if known) 20-_____

    Name of creditor and         Name, telephone number, and       Nature of the    Indicate if Amount of unsecured claim
    complete mailing address,    email address of creditor contact claim            claim is    If the claim is fully unsecured, fill in only unsecured
    including zip code                                             (for example,    contingent, claim amount. If claim is partially secured, fill in
                                                                   trade debts,     unliqui-    total claim amount and deduction for value of
                                                                   bank loans,      dated, or collateral or setoff to calculate unsecured claim.
                                                                   professional     disputed
                                                                   services, and                Total claim,       Deduction for Unsecured
                                                                   government                   if partially       value of            claim
                                                                   contracts)                   secured            collateral or
                                                                                                                   setoff

8   Name and Address on File     Contact Information On File       Customer Claim     ¨C                                             $1,997,998.381

                                                                                      þU
                                                                                      ¨D
9   Name and Address on File     Contact Information On File       Customer Claim     ¨C                                             $1,956,794.491

                                                                                      þU
                                                                                      ¨D
10 Name and Address on File      Contact Information On File       Customer Claim     ¨C                                             $1,815,887.231

                                                                                      þU
                                                                                      ¨D
11 Name and Address on File      Contact Information On File       Customer Claim     ¨C                                             $1,500,000.001

                                                                                      þU
                                                                                      ¨D
12 DCP Capital                   Kevin Hu                          Convertible        ¨C                                             $1,500,000.00
   Kingston Chambers, PO Box     kevin@dcp.capital                 Noteholder
   173                                                                                ¨U
   Road Town
   Tortola VG1110
                                                                                      ¨D
   British Virgin Islands

13 Name and Address on File      Contact Information On File       Customer Claim     ¨C                                             $1,373,647.251

                                                                                      þU
                                                                                      ¨D
14 Name and Address on File      Contact Information On File       Customer Claim     ¨C                                             $1,369,562.051

                                                                                      þU
                                                                                      ¨D
15 Name and Address on File      Contact Information On File       Customer Claim     ¨C                                             $1,269,743.001

                                                                                      þU
                                                                                      ¨D

16 Name and Address on File      Contact Information On File       Customer Claim     ¨C                                             $1,186,566.001

                                                                                      þU
                                                                                      ¨D
17 Name and Address on File      Contact Information On File       Customer Claim     ¨C                                             $1,172,797.751

                                                                                      þU
                                                                                      ¨D
18 Name and Address on File      Contact Information On File       Customer Claim     ¨C                                             $1,093,526.331

                                                                                      þU
                                                                                      ¨D


Official Form 204       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                          Page 2
                    Case Case
                         3:23-cv-00243-AMO
                               20-12836-JTD Document
                                            Doc 1-2 Filed
                                                     32-8 11/07/20
                                                           Filed 03/03/23
                                                                     Page Page
                                                                          10 of 15
                                                                                11 of 16

Debtor   Cred Inc., et al.                                                                                   Case number (if known) 20-_____

    Name of creditor and          Name, telephone number, and       Nature of the    Indicate if Amount of unsecured claim
    complete mailing address,     email address of creditor contact claim            claim is    If the claim is fully unsecured, fill in only unsecured
    including zip code                                              (for example,    contingent, claim amount. If claim is partially secured, fill in
                                                                    trade debts,     unliqui-    total claim amount and deduction for value of
                                                                    bank loans,      dated, or collateral or setoff to calculate unsecured claim.
                                                                    professional     disputed
                                                                    services, and                Total claim,       Deduction for Unsecured
                                                                    government                   if partially       value of            claim
                                                                    contracts)                   secured            collateral or
                                                                                                                    setoff

19 Name and Address on File       Contact Information On File       Customer Claim     ¨C                                             $1,088,416.731

                                                                                       þU
                                                                                       ¨D
20 JST Capital                    Scott Freeman                     Trade Payable      ¨C                                             $983,462.00
   350 Springfield Ave            sfreeman@jstcap.com
   Suite 200                                                                           ¨U
   Summit NJ 07901
                                                                                       ¨D
21 Name and Address on File       Contact Information On File       Customer Claim     ¨C                                             $866,297.451

                                                                                       þU
                                                                                       ¨D
22 Name and Address on File       Contact Information On File       Customer Claim     ¨C                                             $857,200.001

                                                                                       þU
                                                                                       ¨D
23 Name and Address on File       Contact Information On File       Customer Claim     ¨C                                             $740,553.531

                                                                                       þU
                                                                                       ¨D
24 Name and Address on File       Contact Information On File       Customer Claim     ¨C                                             $660,589.991

                                                                                       þU
                                                                                       ¨D
25 Name and Address on File       Contact Information On File       Customer Claim     ¨C                                             $623,954.651

                                                                                       þU
                                                                                       ¨D
26 Name and Address on File       Contact Information On File       Customer Claim     ¨C                                             $623,258.271

                                                                                       þU
                                                                                       ¨D
27 Name and Address on File       Contact Information On File       Customer Claim     ¨C                                             $586,400.001

                                                                                       þU
                                                                                       ¨D
28 Uphold, Inc.                   JP Thieriot                       Trade Payable      þC                                             $518,635.45
   900 Larkspur Landing Cir       jp.thieriot@uphold.com
   Suite 209                                                                           þU
   Larkspur CA 94939
                                                                                       þD
29 Name and Address on File       Contact Information On File       Customer Claim     ¨C                                             $443,080.001

                                                                                       þU
                                                                                       ¨D




Official Form 204        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                          Page 3
                        Case Case
                             3:23-cv-00243-AMO
                                   20-12836-JTD Document
                                                Doc 1-2 Filed
                                                         32-8 11/07/20
                                                               Filed 03/03/23
                                                                         Page Page
                                                                              11 of 15
                                                                                    12 of 16

Debtor       Cred Inc., et al.                                                                                       Case number (if known) 20-_____

       Name of creditor and            Name, telephone number, and       Nature of the       Indicate if Amount of unsecured claim
       complete mailing address,       email address of creditor contact claim               claim is    If the claim is fully unsecured, fill in only unsecured
       including zip code                                                (for example,       contingent, claim amount. If claim is partially secured, fill in
                                                                         trade debts,        unliqui-    total claim amount and deduction for value of
                                                                         bank loans,         dated, or collateral or setoff to calculate unsecured claim.
                                                                         professional        disputed
                                                                         services, and                   Total claim,       Deduction for Unsecured
                                                                         government                      if partially       value of            claim
                                                                         contracts)                      secured            collateral or
                                                                                                                            setoff

30 Name and Address on File            Contact Information On File          Customer Claim     ¨C                                             $432,000.001

                                                                                               þU
                                                                                               ¨D

1
    Claim amount reflects the book value of the cryptocurrency positions with the Debtors.




Official Form 204            Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                              Page 4
       Case Case
            3:23-cv-00243-AMO
                  20-12836-JTD Document
                               Doc 1-2 Filed
                                        32-8 11/07/20
                                              Filed 03/03/23
                                                        Page Page
                                                             12 of 15
                                                                   13 of 16




                                            Appendix A
                                   Resolutions of the Corporation

        WHEREAS, the directors (the “Directors”) of Cred, Inc. (the “Corporation”) have
considered presentations by the Corporation’s management and financial and legal advisors
regarding its liabilities and liquidity situation, the strategic alternatives available to it and the
effect of the foregoing on its business; and

        WHEREAS, the Directors have determined that it is desirable and in the best interests of
the Corporation, its creditors, and other interested parties that a petition be filed by the
Corporation, seeking relief under the provisions of chapter 11 of title 11 of the United States
Code (the “Bankruptcy Code”) in the United States Bankruptcy Court for the District of
Delaware (the “Bankruptcy Court”) in which the authority for the Corporation to operate as a
debtor in possession will be sought; and

        WHEREAS, the Directors have received a draft of the petition under chapter 11 of title
11 of the Bankruptcy Code (the “Chapter 11 Filing”);

        THEREFORE, BE IT RESOLVED THAT:

       Each of the Directors, and duly appointed officers of the Corporation from time to time
(each an “Authorized Person” and together the “Authorized Persons”) be and is authorized,
empowered and directed, in the name and on behalf of the Corporation, to execute and verify the
Chapter 11 Filing and to cause the same to be filed in the Bankruptcy Court at such time or in
such other jurisdiction as such Authorized Person executing the same shall determine; and

        Each Authorized Person, and such other persons as the Authorized Persons may from
time to time designate, be and is authorized, empowered and directed, in the name and on behalf
of the Corporation, to engage and retain all assistance by legal counsel, accountants, financial
advisors, and such other professionals (in all cases as the Authorized Person deems necessary or
desirable) in connection with the Chapter 11 Filing, with a view to the successful prosecution of
such case; and

        Each Authorized Person, and such other persons as the Authorized Persons may from
time to time designate, and any employees or agents (including counsel) designated by or
directed by any such persons, be and is, authorized, empowered and directed, in the name and on
behalf of the Corporation, to execute and file all petitions, schedules, motions, lists, applications,
pleadings and other papers, and to take and perform any and all further acts and deeds which he
or she deems necessary, proper or desirable in connection with the Chapter 11 Filing, with a
view to the successful prosecution of such case; and

        In connection with the Chapter 11 Filing, each Authorized Person, and such other persons
as the Authorized Persons may from time to time designate, and any employees or agents
(including counsel) designated by or directed by any such persons, be and is, authorized,
empowered and directed, in the name and on behalf of the Corporation, to cause the Corporation
to enter into, execute, deliver, certify, file and/or record, and perform, such agreements,
instruments, motions, affidavits, applications for approvals or ruling of governmental or
       Case Case
            3:23-cv-00243-AMO
                  20-12836-JTD Document
                               Doc 1-2 Filed
                                        32-8 11/07/20
                                              Filed 03/03/23
                                                        Page Page
                                                             13 of 15
                                                                   14 of 16




regulatory authorities, certificates or other documents, and to take such other action, as in the
judgment of such persons shall be or become necessary, proper or desirable to effectuate a
successful reorganization of the business of the Corporation; and

       Each Authorized Person be and is, authorized and empowered on behalf of and in the
name of the Corporation, to execute such consents of the Corporation as such Authorized Person
considers necessary, proper or desirable to effectuate these resolutions, such determination to be
evidenced by such execution or taking of such action.

       THEREFORE, BE IT FURTHER RESOLVED THAT:

       The law firm of Paul Hastings LLP be and is engaged as attorneys for the Corporation
under a general retainer in relation to the Chapter 11 Filing, subject to any requisite Bankruptcy
Court approval; and

         The law firm of Cousins Law LLC be and is engaged as local counsel to represent and
assist the Corporation and its professionals in relation to the Chapter 11 Filing, subject to any
requisite Bankruptcy Court approval; and

        The firm of MACCO Restructuring Group, LLC (“MACCO”) be and is engaged as
financial advisor to, among other things, assist the Corporation in (i) developing financial data
for evaluation by its Board, creditors, or other third parties, (ii) conducting a strategic review of
the Corporation’s capital structure, (iii) advising the Corporation in connection with a
restructuring, and (iii) assisting the Corporation to evaluate financing and acquisition proposals
and, in connection therewith, the Authorized Persons be authorized to execute appropriate
retention agreements, pay appropriate retainers, and cause to be filed an appropriate application
for authority to retain the services of MACCO; and

        The firm of Donlin, Recano & Company, Inc. (“Claims Agent”) be and is engaged as
notice and claims agent and administrative advisor to represent and assist the Corporation in
carrying out its duties under the Bankruptcy Code, and to take any and all actions to advance the
Corporation's rights and obligations in the Chapter 11 Filing and, in connection therewith, the
Authorized Persons be authorized to execute appropriate retention agreements, pay appropriate
retainers, and cause to be filed an appropriate application for authority to retain the services of
the Claims Agent.

       THEREFORE BE IT FURTHER RESOLVED THAT:

        In connection with or to carry out the actions contemplated by the foregoing resolutions,
the Director, officer or (if applicable) any attorney or duly authorized signatory of the
Corporation (any such person being an “Attorney” or “Authorized Signatory” respectively) be,
and such other persons as are authorized by any of them be, and each hereby is, authorized, in
the name and on behalf of the Corporation, to do such further acts and things as the Director or
officer or such duly authorized other person shall deem necessary or appropriate, including to do
and perform (or cause to be done and performed), in the name and on behalf of the Corporation,
all such acts and to sign, make, execute, deliver, issue or file (or cause to be signed, made,
executed, delivered, issued or filed) with any person including any governmental authority or
agency, all such agreements, documents, instruments, certificates, consents or waivers and all


                                                 A-2
       Case Case
            3:23-cv-00243-AMO
                  20-12836-JTD Document
                               Doc 1-2 Filed
                                        32-8 11/07/20
                                              Filed 03/03/23
                                                        Page Page
                                                             14 of 15 of 16




amendments to any such agreements, documents, instruments, certificates, consents or waivers
and to pay, or cause to be paid, all such payments, as any of them may deem necessary or
advisable in order to carry out the intent of the foregoing resolutions, the authority for the doing
of any such acts and things and the signing, making, execution, delivery, issue and filing of such
of the foregoing to be conclusively evidenced thereby; and

        That any and all actions of the Corporation, or of the Director or officer or any Attorney
or Authorized Signatory, taken in connection with the actions contemplated by the foregoing
resolutions prior to the execution hereof be and are hereby ratified, confirmed, approved and
adopted in all respects as fully as if such action(s) had been presented to for approval and
approved by, the Director prior to such action being taken.




                                                A-3
         Case Case
              3:23-cv-00243-AMO
                    20-12836-JTD Document
                                 Doc 1-2 Filed
                                          32-8 11/07/20
                                                Filed 03/03/23
                                                          Page Page
                                                               15 of 15
                                                                     16 of 16




   Fill in this information to identify the case and this filing:

 Debtor Name          Cred Inc.

 United States Bankruptcy Court for the:                                               District of Delaware
                                                                                                 (State)
 Case number (If known):



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors
         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must
sign and submit this form for the schedules of assets and liabilities, any other document that requires a declaration
that is not included in the document, and any amendments of those documents. This form must state the individual’s
position or relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money
or property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to
20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



           Declaration and signature

         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent
         of the partnership; or another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the
         information is true and correct:

    ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
    ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
    ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
    ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
    ☐     Schedule H: Codebtors (Official Form 206H)
    ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
    ☐     Amended Schedule
    ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not
          Insiders (Official Form 204)
    ☒     Other document that requires a declaration Corporate Ownership Statement, List of Equity Security
          Holders, and Resolutions of Corporation
    I declare under penalty of perjury that the foregoing is true and correct.

   Executed on
                                      11/7/2020                                    /s/ Daniel Schatt
                                      MM/ DD/YYYY                                Signature of individual signing on behalf of debtor
                                                                                 Daniel Schatt
                                                                                 Printed name
                                                                                 Chief Executive Officer
                                                                                 Position or relationship to debtor

Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
